        Case 4:16-cv-06994-PJH Document 201 Filed 04/06/23 Page 1 of 2




 1 Stephen R. Jaffe (SBN 49539)
   THE JAFFE LAW FIRM
 2 1 Sansome Street, Suite 3500
   San Francisco, CA 94104
 3 Telephone: (415) 618-0100
   stephen.r.jaffe@jaffetriallaw.com
 4
   Attorneys for Relator STEVEN FALLON
 5

 6

 7

 8                              UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                       OAKLAND DIVISION
11 UNITED STATES OF AMERICA, ex rel.,                  Case No. 16-CV-6994-PJH
   STEVEN FALLON and on behalf of the
12 STATE OF CALIFORNIA, ,                              NOTICE OF DISMISSAL [PRCP 41(a)(2)];

13                 Relator,                            and

14          v.                                         [PROPOSED] ORDER OF DISMISSAL

15 MATTHEW WAYNE; MIRIAM
   DELGADILLO; TAMMY WATSON,
16
            Defendants.
17

18          Pursuant to FRCP 41(a)(2), NOTICE IS GIVEN:
19
        1. The parties have settled this action and have executed a written settlement agreement
20
     evidencing such settlement (“agreement”);
21

22      2. Pursuant to the terms and condition of of the agreement, the above-entitled action, and all
23 causes of action there, are dismissed;

24      3. With respect to claims made by the relator on behalf of the United States and the State of
25 California under the federal False Claims Act and the California False Claims Act in this action,

26 dismissal of any and all such claims is expressly made without prejudice to any of the rights or

27 remedies of the United States and/or the State of California.

28

     NOTICE AND ORDER OF DISMISSAL                                           Case No. 16-CV-6994-PJH
                     Case 4:16-cv-06994-PJH Document 201 Filed 04/06/23 Page 2 of 2




              1      4. The United States and California consent to dismissal provided that dismissal is without

              2   prejudice to the United States and the State of California, and will file their written consent with

              3 the Court.

              4

              5 Dated: April 5, 2023                                      THE JAFFE LAW FIRM

              6

              7                                                           By:________/S/____________
                                                                                Stephen R. Jaffe
              8                                                                Attorneys for Relator

              9
                  Dated: April 5, 2023                                    JACOBSON MARKHAM LLP
             10
                                                                          By:_______ /S/
             11                                                                 Richard M. Jacobson
                                                                          ____________
                                                                               Attorneys for Defendants
             12

             13                                       ORDER OF DISMISSAL

             14

             15          Pursuant to the foregoing Notice of the parties and FRCP 41(a)(2):

             16

             17      1. The above-entitled action, and all causes of action there, are dismissed;

             18

             19      2. With respect to claims made by the relator on behalf of the United States and the State of

             20 California under the federal False Claims Act and the California False Claims Act in this action,

             21 dismissal of any and all such claims is expressly without prejudice to any of the rights or remedies

             22 of the United States and/or the State of California.
                                                                                              ISTRIC
             23                                                                          TES D      TC
                                                                                       TA
                                                                                                                   O
                                                                                   S




                        April 6, 2023
             24 Dated: ________________
                                                                                                                    U
                                                                                  ED




                                                                                                                     RT




                                                                                                             ERED
                                                                                              O ORD
                                                                              UNIT




             25                                                                        IT IS S
                                                                                                                        R NIA




                                                                                                                    n
             26                                                                                  hyllis J.
                                                                                                             Hamilto
                                                                              NO




                                                                                        Judge P
                                                                                                                        FO
                                                                               RT




             27                                                 __________________________________________
                                                                                                                       LI




                                                                              E
                                                                                  H




                                                                                                                   A




                                                                                       RN          C
                                                                                               O F
                                                                                 D
             28                                                 JUDGE OF THE UNITED   STATES
                                                                                   IS T R I C T DISTRICT COURT

                  NOTICE AND ORDER OF DISMISSAL                     -2-                                Case No. 16-CV-6994-PJH
16514482.1
